                       Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 1 of 27



              1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                ANTHONY E. SONNETT, SB# 163182
              2   E-Mail: Anthony.Sonnett@lewisbrisbois.com
                STEVEN A. DABROWSKI, SB# 294194
              3   E-Mail: teven.Dabrowski lewisbrisbois.com
                633 West 5 Street, Suite 4000
              4 Los Angeles, California 90071
                Telephone: 213.250.1800
              5 Facsimile: 213.250.7900
              6 Attorneys for Defendant
                VOLVO GROUP NORTH AMERICA,
              7 LLC
              8
                                                 UNITED STATES DISTRICT COURT
              9
                             NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
             10
             11
                  TAMEIKA MORI,                                    CASE NO.
             12                                                    Lower Case No. RG19004473
                                    Plaintiff,
             13
                           vs.                                     NOTICE OF REMOVAL OF
             14                                                    ACTION UNDER 28 U.S.C. 1441(b)
                TAYLOR MACHINE WORKS, INC.;                        DIVERSITY
             Is VOLVO GROUP NORTH AMERICA,
                LLC; DOES I to 30,
             16
                         Defendants.
             17
             18 TO THE CLERK OF THE ABOVE-ENTITLED COURT:
             19            PLEASE TAKE NOTICE that defendant Volvo Group North America, LLC
             20 ("VGNA" or "defendant") hereby removes to this Court the State Court action
             21 described below:
             22            1.       On January 23, 2019, an action was commenced in the Superior Court
             23 of the State of California in and for the County of Alameda, entitled Tameika Mort
             24 Plaintiff; v. Taylor Machine Works, Inc.; Volvo Group North America, LLC; Does I
             25 to 30, Defendants, Case Number RG19004473. A copy of plaintiff's complaint and
             26 accompanying documents is attached hereto as Exhibit A. A copy of defendant's
             27 answer to the complaint is attached hereto as Exhibit B.
             28            2.       The first date upon which defendant received a copy of the complaint
LEWIS
BRISBOIS
BISGAARD          4840-9256-7ln I
&SASH RP                            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. 1441(6) DIVERSITY
All8L2LALw
                              Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 2 of 27



                     1 was February 22, 2019, when defendant's agent for service of process was served
                     2 with a copy of the complaint and a summons. Copies of the summons and notice of

                     3 service of process to VGNA are attached collectively hereto as Exhibit C.

                     4             3.       This is a civil action of which this Court has original jurisdiction under
                     5 28 U.S.C. § 1332, and is one which may be removed to this Court by defendant

                     6 pursuant to 28 U.S.C. § 1441(b) in that it is a civil action between citizens of

                     7 different states and the matter in controversy exceeds the sum of $75,000, exclusive

                     8 of interest and costs. Attached to plaintiff's complaint is a Statement of Damages

                     9 which demonstrates plaintiff is seeking damages in the amount of $5,400,000.

                    10             4.       Complete diversity of citizenship exists. Plaintiff is a citizen of the
                    11 State of California. Defendant Volvo Group North America, LLC is a Delaware

                    12 corporation with a principal place of business in the State of North Carolina.

                    13 Defendant Taylor Machine Works, Inc. is a Mississippi corporation with a principal

                    14 place of business in the State of Mississippi.

                    15             5.       Co-Defendant Taylor Machine Works, Inc. has consented to the
                    16 removal of the State Court action to the United States District Court for the Northern

                    17 District of California.

                    18             6.       Removal to the United States District Court, Northern District, Oakland
                    19 Division is proper as the State Court action is venued in Alameda County.

                    20

                    21 DATED: March 25, 2019                        LEWIS BRISBOIS BISGAARD & SMITH LLP
                    22

                    23

                    24
                                                                    By:
                                                                          Steven A. Dabrowski
                    25                                                    Attorneys for Defendant VOLVO GROUP
                    26                                                    NORTH AMERICA, LLC

                    27

                    28
LEWIS
BRISBOIS
BISGAARD                 4840-9256-7182.1                                  2
&MR LLP                                     NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. 1441(b) DIVERSITY
AIICIIHEYS AI LAW
Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 3 of 27




     EXHIBIT "A"
                Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 4 of 27
                                                                                                           FEB D 1 1019
                                                                                                                              PLD414101
      ATIORNEY cm MAW WITHOUT ATTORNEY V4111114 Maas,laYiber: anelaft*                                        FOR COOTTOSEORLY
      Michael Villeggiante SRN 284E60
      Weltin, Streb, & Weltin, LLP
      1432 Martin Luther King Jr. Way
      Oakland, CA 94612
            famtlescan 510-251-6060         FAX NO-POS14 510-251-6040
    rammer; rarrama mvilleggiantmgmeltinlam.com
      ATTOFINEY FOR Ottsereck Tameika Mon
                                                                                                            emvutctis
                                                                                                       A, _PILE
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF Alameda                                                     riva mEDA c
                                                                                                                 Dovivry
          STREET PADRES& 1225 Fallon Street
           MAUI° ADDRESS:
                                                                                                           J.4IT 2 3     43
          env arro za con Oakland, CA 94612                                                      caRli OF' E
             BRPHCH ewe Unlimited Jurisdiction /Northam Branch                                     By;        SUPERIOR COIIRT
                                                                                                       ERICA BAKER
              atAtHtiFF: Tameika Mori                                                                                    newly
          OEFENDMM Taylor Machine Works, Inc.; Volvo Group North
                         America, LLC;
  11.1 cogs I To 30
   COMPLAINT-Personal Injury, Property Damage, Wrongful Death
        =I AMENDED (Number):
   Type (cheek elf that apply):
  CD MOTOR VEHICLE             CI OTHER (oraff11): Products Liability
              Property Damage       I- 1 Wrongful Death
               Personal Injury            En
                                         Other Manages (,patty):
   Jurisdiction Wheat  ad  that apply):                                                          CASEMISER:
  El ACTION IS A IJMITED CIVIL CASE
        Amount demanded Q            does net exceed 510,000
                               ED exceeds 010,000, but don net exceed 525,000
  En ACTION is AN UNLIMITED chNL CASE (exceeds $25,000)
  IZZI ACTION IS RECLASSIFIED by this amended complaint
                                                                                                       RG19004473
        CD from limited to unlimited
        C     from unlimited to limited
1. Plaintiff (name or names): Tameika Mori
   alleges causes of action against defendant (name cremes):
   Taylor Machine Works, Inc.; Volvo Group North America, LLC; Does 1-30
2. This pleading, Including attachments and exhibits, consists of the following number of pages: 4
3. Each plaintiff named above Is a competent adult
   a          except piaint0f (name):
             (1) ED a corporation qualified to do business In California
             (2) I1 an unincorporated entity (describe);
             (3) CI a public entity (describe):
             (4) C     a minor I= an adult
                       (a) CI for wham a guardian or conservator of the estate or a guardian ad Rem has been appointed
                       (b) O     other (40sci01):
             (5) C:I Other (sPadfY):
   b. Cl except plaintiff (name):
             (1) ED a commotion qualified to do business In California
             (2) ED an unincorporated entity (describe):
             (3) I=1 a Public entity (deertfee):
            (4) 1=1 a minor fEj an adult
                      (a) ED for whom a guardian or conservator of the estate or a guardian ad them has been appointed
                      (b) =      other (sPecilY):
            (5) ED oilier (*QUM:

   U       Infommlion about additional plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                  yea. eta
rri           twerps :4r                           COMPLAINT—Personal Injury, Property                            Cork CM Pfocied
                                                                                                                               r 4"
                                                                                                                                  0.01:412
PUIP14)at [Rat Jemmy 1.20071                            Damage, Wrongful Death
                Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 5 of 27


                                                                                                                              PLDP1.001
       SHORT 'ME:
       !uteriII. Taylor Machine Works, Inc.

  4.   in    Plaintiff (name):
             Is doing business under the ficUllaus name (Specify):

        and has complied with the fictitious business name laws.
 & Each defendant named above is a natural potion
   a.      excvtdefendant proilep TaylorMachine Works, Inc. e. ED except defendant (name):
           (I) O    a business Organization, form unknown         (1) C    a business organization, form unknown
           (2) CI a corporation                                   (2) ED a =Moreton
           (3) C    an umncomorated entity (describe):            (3) ED an unincorporated a' ngry (describe):

                (4) ED a public entity (desert/re):                              (4) ED a public entity (describe):

                (5) CI other (specify):                                          (5) 0      Other (ttb)4:



       b. CI except defendant (name); Volvo Comp North America.= d. n            except defendant (name):
             (1) CI a businese organization. foam unknown                        (1) Q   a business organization, form Unknrsyn
             (2) C    a corpomtlon                                               (2) ED a corporal=
             (3) in an unincorporated entity (descifize):_                       (3) Q    an uninrerporated entity (describe):

                (4) Cl    a public enbly (describe):                             (4)       a public entity (descnbe):

                (5) In   other MecztrYP                                          (5) Q     other (seedy):
                         LLC
       0     Information about ad011ionel defendants who are not natural personals contained in Attaihment 5.
 ft.    The true names of defendants sued as Does are unknown 16 plaintiff.
        a ED Doe defendants (Sliscifir ban numbers): b30                              were the agents or emPloyees of other
                 :tented defendants and rioted withinthe scope ofMel agewcy or employment.
        'b. MDoe defendants (spooky Doe nembers): 1-30                            are persons whose capacities are unknown to
             plaintiff.
7.     ED Defendants who ere joined under Code of Civil Procedure males 392 are (names):


B.      This court Is the proper court because
        a. ED at least one defendant new. resides in its jurisdictionaterea.
        b. Cl the principal place of business of a defendant corporation or unincorporated associationIs In its jurisdictional area
        e. n fluty to person or damage to personal property 'Occurred In Itsjurisdictional area.
        d. II= other (sneer):




9. ED PlaintiffIs required tbaimplyivith a claims statute, and
    a. ED.has complied With applicable claims statutes, or
   :b. CI Is excused from complying because Maliffir




woman Foe amps1.2007j                          COMPLAINT—Personal Injury, Property                                               Poirtieti
                                                    Damage, Wrongful Death
                 Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 6 of 27

                                                                                                                       PLO-P1401
    SHORT TRLD:                                                                                   use moues:
    Mod v. Taylor Machine Works, Inc.

   10. The followMg Causes of action are attached and the statements above apply to each (each complaint most have oneormore
       COMM Of action attached):
       a. CI Motor Vehicle
       b.       General Negggenca
       a        intentional Tart
       d. Ca Products Liability
       a 0      Premises Liability
       t 0      Other (specify):




  11. Plaintiff has suffered
      a. I- 1 wage loss
      b.         loss of use ofproperly
      o.         hospital end medical expenses
      et. [71 general damage
      e. n       property damage
      f. I=J loss of earning Capacity
      g, 0       other damage (speay):




 12.0 The damages claimed for wrongful deaO and the relationships of plaintiff to the deceased are
    a 0   listed in Attachment 12.
    b. rf as follows:




 13. The relief sought in this complaint is within the Jurisdiction of this court.



 14. Plalrillff prays forjudgment forcosts of sup; for such relief as is fair. Just, end equitable; and for
     a. (1) rrl compensatory damages
        (2) ED punitive.dameges
        The amount of damages is im cases forpemonet4:4 or Arranged death. you must check (I)):
        (1) 0       according to proof
        (2) I=) in the amount of.
 15.   ED The paragraphs of this complaint alleged on information andbelief are as follows (Weal/ Petreyephnumbers):


Date: 1 /lb

Michael Villeggiante
                              (TYPE OR FRUIT HMO

PL04214131 pro SITLarit r. 20001                   COMPLAINT—Personal Injury, Property                                  nand>
                                                        Damage, Wrongful Death
                Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 7 of 27



 HbRITIRE:                                                                                                                    PLO-121401M



L
                                                                                               rase
    Mori v. Taylor Machine Works, Inc,

           First                               CAUSE OF ACTION—Products Liability                                    Page         4
                         (number)
           ATTACHMENT TO CI Complain! C              Cross-Complaint
           (We a swamis cause of wean GYM tot each cause ofadlan.)
           Plaintiff (name): Tlimeika Marl

           Prod. L-1. On or about (Mob July 1, 2017                              plaintiff was injured by the following product
            Reach stacker Container loader Iciatiwo colloquially as a "top pick," believed to ben Taylor Machine
           'Works,-Ino. model XIC-9713

          Prod. L-2. Each of the defendants knew the product would be purchased and used without inspection for defects.
                       The product was defective when.It tett the control of each defenclenL The product at the lime of Injury
                       was being
                      CI used In the manner Intended bythe defendants.
                      12:I used In the manner that was reasonably foreseeable by defendants as Involving a substantial danger not
                               readily apparent Adequate warnings of the danger were not given.
          Prod. L-3. Plaintiff was a
                      f=1 purchaser of the product.                            M      user of the product.
                      O        bystander to the use of the product.            C      other (spedgt

          PLAINTIFF'S INJURY WAS THE LEGAL (PROXIMATE) RESULT OF THE FOLLOWING:
          Prod. L- 4. 1=1 Count One--Strict liability of the (agave/rig defendants who
                          e. ja  manufactured oressembfed the product (names):
                                 Taylor Machine Works, Inc.; Volvo Group North America, LLC;

                                                    coos I                 to 30
                                  b. [271 designed arid manufactured component parts supplied to the manufacturer (names):
                                          Taylor Machine Works, Inc.; Volvo Group North America, LLC;

                                              al Does I                       to 30
                                  c. L    sold the product to the public (names):
                                          Taylor Machine Works, Inc.; Volvo Group North America, LLC;

                                       =I D005 1                        to 30
          Prod. L-6. ED Count Two—Negligence of the (diming defendants who owed a duty to daintiff (names):
                          Taylor Machine Works, Inc.; Volvo Group North America, LLC;
                                        Q    Does 1                      to 30
          Prod. L-6. C1 Count Three—breach of warranty by the following defendants (names):
                          Taylor Machine Works, Inc.; Volvo Group North America, LLC;
                                        CO noes 1                        to 30
                        a. al     who breached an Implied warranty
                        lb Ea who breached an           mss warranty which was
                                  al written        I ug oral
          Prod L-7. C3 The defendants who are liable to plaintiffs for other reasons and the reasons Eddie Pebbly are
                       U     listed In Attachment-Prod. L-7 CD as Mows:


                                                                                                                                   Pap' at1
  551550Patitd far OWNS the                   CAUSE OF ACTION-Products Liability                                     Osle 05Pcatititc 505.12
   .1w5tm CetttaelCalbrra                                                                                                    VASKIXIITAIMIL9OV
PLI1P150115[Rev..tartvitt0.2005
            Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 8 of 27



                                                                                 CIVASO
                             • DO NOTFILE WITH THE COURT-
  -UNLESS YOUARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CML PROCEDURE § 681-


  114111rVilleggiantt SBN°2174760                                            TEIrtnIONE Ma:
                                                                        510-251-6060
                                                                                                          FOR COUPffLISECIMY


   Weltin, Streb, & Wallin, LLP                                      F: 510-251-6040
   1432 Martin Luther King Jr. Way                  E: mvilieggiante(4)weltinlaw.com
  Oakland, CA 94612
     ATTOIblEY FOR es*, Tameika Mori
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF                  Alameda
    STREET ADIMPASI 1225 Fallon Street
   WaISIGSZCAESS.
                 Oakland, CA 94612
   MY /fill)SP COM:
                 Unlimited Jurisdiction / Northern Branch
         IRAM:11.1.4/A:

     PtAarnen: Tameika Mori
  4,EFe4DAtri: Taylor Mashies Works, Inc.; Volvo Croup North America, LLQ Doi 1-30
                                                                                              CM Matt
                                  STATEMENT OF DAMAGES
                              (Peraonal injury M Wrongful Death)
 To (name of one defendant onlyp Taylor Machine Works, Inc.
 Plaintiff Memo of one plainlb7ontypTameilca Mori
 seeks damages in the above-waked adion ee follows:
 I. General damages                                                                                                 .490OUNT
                                                                                                                    AM
    a. L73 Pain suffering, and Inconvenience                                                                   $        s000
   b           Emotional MMus                                                                                  $ 1,400,000


   d.=         Less of socisy and companionship Omaha death actions only)
   e i=        Other (specify)
       C      Other (specin$
   0.1=1 Continued on Attachment 1.g.
2. Spacial damages
   a. En Medical expenses (to date)                                                                            s400,000


       1:30 Loss el earnings Po dale)                                                                          $ 400,000
  d,          Leas of Mute eandng                                                                              $ 1,400,000
              Property damage                                                                                 $
  t C         Funeral expenses nmerignil Warn laws 0DOP                                                       $
  'a.=        Future contribute:gm (present value)(osongfol death actions only)
  h.0         Value or personal mina advice, or training Inland date action& Only)
  I ED Other (specify)                                                                                        $
  .1. CD Other (specify)
  k. =       Continued on Mtadment 2.k
3. CI Punitive damages: Plaintiff reseives Um dght le seek punitive damages in the
       when pursuing ajudgment in the suit faint against you.
   Dais:   fit / I        7
   Michael Villeggiante
                              (Mt ORPRINT MAME)
                                                       (Prod of service on ravens)                                            •.1.1,12
                                                      STATEMENT OF DAMAGES                              Gadadttellonia.n. Mrre1yra.ns
fe-Lererzu"                                       (Personal Injury or Wrongful Death)
             Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 9 of 27



                                                                               CIV-050
                             -DO NOT FILE WITH THE COURT-
   -UNLESS YOUAREAPPLYING FORA DEFAULT JUDGMENT UNDER CODE OF COAL PROCEDURE 505 -

  AITQRNEY OR PAM Imnpur ATTORNEY Mob an, MOM).                          TELEMONE                               FOR COISTUSE ONLY
   Michael Villeggiante SBN 284860                                   T: 510-251-6060
   Weltin, Streb, & Wallin, LLP                                      F: 510-251-6040
   1432 Martin Luther King Jr. Way               B: snvilleggiante®weltinlaw.com
  Oakland, CA 94612
      ATTORMEY FOR Cisso0: Tameika Mod
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Alameda
    StiEETADORESO 1225 Fallon Street
    1401.1110 =AEU
   cm arrazarcooe Oakland, CA 94612
         ORANCONAMO Unlimited Jurisdiction / Northam Branch
      ', Latium Tameika Mori
   0$$$$0$$$$: Taylor Machine Works, inc.; Volvo Group North Arnertra.L1C; Dots 1-30
                                                                                              CASEULM-PER:
                              STATEMENT OF DAMAGES
                          (Personal Injury or Wrongful Death)
 To (name of one defendant only): Volvo Group North America, LLC
 Plaintiff (name f one OW f only): Tameika Mori
 seeks damages In the above enticed action, as Mows;
                                                                                                                             AMOUNT
 1. General damages
    a.GD Pain, suffering, and Inconvenience                                                                             $ 1,400,000
    b. GD Emotional &Mimi                                                                                               $ 1,400,000


   d. En tom of sociey and companionship (mong t death aclitvis any)          .... ......   ........   ..........
   e.17:1 Other (specify)                                                                                               $
   I. CD Other (specify)
   9.1= Continued on AttachrneM 14.
 a Special damages
   a. ED Medical expenses (to date)                                                                                     $400,000
   b. =I    Future medical expenses (present value)                                                                     $ 400,000
   C. al    Lass of earnings (to date)                                                                                  $400,000
   la 0.3 Loss of future earning capacity (Amnia waffle)                                                                $ 1,400,000
   a.       Property damage
   t In     Funeral expenses (wongtuf &BM actions only)
   9.=      Future contributions (Amen( value)ftwongful death &Sons only)
   h. C) Value of personal service, advice, attaining (amoral death ecaonsonly)                                         $
   L        othensperaw
  1. I=     Other (specify)
       CI   Continued on Attadvrent 2.1c.
 3. CJ Punta ve damages: Plaintiff reserves the right to seek punitive damages
        when pursuing a Judgment in the suit filed against you.
    owe:    0 tip?
    Michael Villeggiante
                         MOTOR PRINT11.6161                                        Ian          OF                  A     wmsst
                                                      (Proof arse:vice on reverse)                                               awns
                                                     STATEMENT OF DAMAGES                                    ems re comae., fa ram ear ie
FIL=rrom          u"                                                                                                      tem coadesrapo
 cream sonImooLeall                             (Personal Injury or Wrongful Death)
    Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 10 of 27




          Superior Court of California, County of Alameda
        Alternative Dispute Resolution (ADR) Information Packet

The person who files a civil lawsuit (plaintiff) must include the ADR Information Packet
with the complaint when serving the defendant. Cross complainants must serve the ADR
Information Packet on any new parties named to the action.

    The Court strongly encourages the parties to use some Conn of ADR before proceeding to
    trial. You may choose ADR by:
        •    Indicating your preference on Case Management Form CM-I10;
        •    Filing the Stipulation to ADR and Delay Initial Case Management Conference for
             90 Days (a local form included with the information packet); or
        •    Agree to ADR at your Initial Case Management Conference.

    QUESTIONS? Call (510) 891-6055. Email adrnronramOalameda.courts.ca.Fov
    Or visit the court's website at httn://www.alameda.courts,caav/adr

                              What Are The Advantages Of Using ADR?
•    Faster —Litigation can take years to complete but ADR usually takes weeks or months.
•    Cheaper — Parties can save on attorneys' fees and litigation costs.
•    More control andf !tribally —Parties choose the ADR process appropriate for their case.
•    Cooperative and less stressful — In mediation, parties cooperate to find a mutually
     agreeable resolution.
•    Preserve Relationships— A mediator can help you effectively communicate your
     interests and point of view to the other side. This is an important benefit when you want
     to preserve a relationship.

                              What Is The Disadvantage Of Using ADR?
•    You may go to court anyway — If you cannot resolve your dispute using ADR, you may
     still have to spend time and money resolving your lawsuit through the courts.

                                 What ADR Options Are Available?
•    Mediation — A neutral person (mediator) helps the parties communicate, clarify facts,
     identify legal issues, explore settlement options, and agree on a solution that is acceptable
     to all sides.

     o Court Mediation Program: Mediators do not charge fees for the first two hours of
       mediation. if parties need more time, they must pay the mediator's regular fees.

ADR Info SbeetRev, 12115/10                                                              Page I eft
    Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 11 of 27




          Some mediators ask for a deposit before mediation starts which is subject to a refund
          for unused time.

     o Private Mediation: This is mediation where the parties pay the mediator's regular
       fees and may choose a mediator outside the court's panel.

•    Arbitration — A neutral person (arbitrator) hears arguments and evidence from each side
     and then decides the outcome of the dispute. Arbitration is less tonna! than a trial and the
     rules of evidence are often relaxed. Arbitration is effective when the parties want
     someone other than themselves to decide the outcome.

     o Judicial Arbitration Program (non-binding): The judge can refer a case or the
       parties can agree to use judicial arbitration. The parties select an arbitrator from a list
       provided by the court. If the parties cannot agree on an arbitrator, one will be
       assigned by the court. There is no fee for the arbitrator. The arbitrator must send the
       decision (award of the arbitrator) to the court. The parties have the right to reject the
       award and proceed to trial.

     o Private Arbitration (binding and non-binding) occurs when parties involved in a
       dispute either agree or are contractually obligated. This option takes place outside of
       the courts and is normally binding meaning the arbitrator's decision is final.

                         Mediation Service Programs In Alameda County
Low cost mediation services are available through non-profit community organizations.
Trained volunteer mediators provide these services. Contact the following organizations for
more information:


SEEDS Community Resolution Center
1968 San Pablo Avenue, Berkeley, CA 94702-1612
Telephony (510) 548-2377       Website: www.seedscrc.org
Their mission is to provide mediation, facilitation, training and education programs in our
diverse communities — ACTSCS that Encourage Effective Dialogue and §olution-making.


Center for Community Dispute Settlement
291 McLeod Street, Livermore, CA 94550
Telephone: (925) 373-1035     Website: www.trivalleymediation.com
CCDS provides services in the Tri-Valley area for all of Alameda County.


For Victim/Offender Restorative Justice Services
Catholic Charities of the East Bay: Oakland
433 Jefferson Street, Oakland, CA 94607
Telephone: (510) 768-3100 Website: www.cceb.org
Mediation sessions involve the youth, victim, and family members work toward a mutually
agreeable restitution agreement.




ADR Info SlizetRev. 12115110                                                             Paget o12
                    Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 12 of 27


                                                                                                                        ALA ADR-001
apron& 04:1 POPTYWITIOUr ATTORNEY Wang Frna &motel and&lane                                                 FOACOURTUSEtWLY


                TELEPHONE NO:              FAY NO.(002*
      E-MAII. ADDRESS (Oplionaer
         ATTORNEY FOR(Notre):
SUPERIOR COURT OF CALIFORNIA, ALAMEDA COUNTY
               STREET ADDRESS:
              MAILING =REM
             =YAW EP CODE
                  MANCH NAME
MAINTIFF/PETMONER:
DEFENDANT/RESPONDENT:
                                                                                            - War:Lamm
STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)
AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS


              INSTRUCTIONS: All applicable boxes must be checked, and the specified Information must be provided.

     This stipulation Is effective when:
     •     All parties have signed and tiled this stipulation with the Case Management Conference Statement at least 15 days before the
           Initial case management conference.
     •     A copy of this stipulation has been received by the ADR Program Admirdstrator.1225 Fallon Street, Oakland, CA 94612.

1.   Date complaint Ned:                                    An Initial Case Management Conference is scheduled fon

     Date:                                      Time:                              Department

2.   Counsel and all parties certify they have met and conferred and have selected the following ADR process (check one):

     In Court mediation                El Judicial arbitration
     El Private mediation              ❑   Private arbitration

3. An parties agree to complete ADR within 90 days and certify that:
     a.    No party to the case has requested a complex civil litigation determination healing;
     b.    All parties have been served and Intend to submit to the jurisdiction of the court;
     c.    All parties have agreed to a specific plan for sufficient discovery to make the ADR process meaningful;
     d.    Copies of this stipulation and self-addressed stamped envelopes are provided for returning endorsed filed stamped copies to
           counsel and all parties;
     e.    Case management statements are submitted with this stipulation:
     f.    All parties will attend ADR conferences; and.
     g.    The court will not allow mom than 90 days to complete ADR.

I declare under penally of perjury under the laws of the State of California that the foregoing is We and correct.

Date:


                (TYPE OR PRINT tome)                               (SIGNATURE OF PLAPMFF)


Date:




                (TYPE OR PRINT /UWE)                               (SIGNATURE OF ATTORNEY FOR PLADMPF)
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                                                                                                                 ALA ADR-001
                                                                                                 CASE NUMBER.:
PLAINTIFF/PETITIONER:

DEFENDANT/RESPONDENT:



Dale:




                  (TYPE OR MINT NAME)                              (SIGNATURE OF DEFENDANT)



Date:




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       EXHIBIT "B"
                         Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 15 of 27



                  LEWIS BRISBOIS BISGAARD & SMITH LIP
                  ANTHONY E. SONNETT, SB# 163182
                2   E-Mail: Anthony.Sonnett@lewisbrisbois.com
                  STEVEN A. DABROWSKI, SB# 294194
                3   E-Mail: Steven.Dabrowski@lewisbrisbois.com
                  633 West 511 Street, Suite 4000
                4 Los Angeles, California 90071
                  Telephone: 213.250.1800
                  Facsimile: 213.250.7900

                6   Attorneys for Defendant
                    VOLVO GROUP NORTH AMERICA, LLC
                7

               S                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

                          COUNTY OF ALAMEDA, UNLIMITED JURISDICTION / NORTHERN BRANCH

              19                     RENE C. DAVIDSON ALAMEDA COUNTY COURTHOUSE

              11

              12    TAMEIKA MORI,                                      CASE NO. RG19004473

              13                   Plaintiff,                          DEFENDANT VOLVO GROUP NORTH
                                                                       AMERICA, LLC'S ANSWER TO
              14           vs.                                         PLAINTIFF'S COMPLAINT

              15 TAYLOR MACHINE WORKS, INC.;                           [Assigned for All Purposes to:
                 VOLVO GROUP NORTH AMERICA, LLC;                       The Hon. Evelio Grillo — Dept. 15]
              16 DOES 1 to 30,
                                                                       Action Filed:      January 23, 2019
              17                   Defendants.                         Trial Date:        None Set
              18

              19    10 THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:

              20           Defendant VOLVO GROUP NORTH AMERICA, LLC (hereinafter "Defendant") hereby

              21    answers plaintiff's unverified complaint ("Complaint") as follows:

              22           Pursuant to California Code of Civil Procedure Section 431.30(d), Defendant denies each

              23 and every allegation of the Complaint herein and the whole thereof, and further denies that

              24 plaintiff has been damaged in the sum or sums alleged, or in any sum whatsoever. Defendant

              25 further denies that plaintiff has sustained or will sustain any injury, damage or loss, if any, by

              26 reason of any act or omission on the part of Defendant.

              27 / / /

              28 / / /
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                                                      FIRST AFFIRMATIVE DEFENSE

                 2                                           (Failure to State a Claim)

                 .3           1.      Defendant alleges that the Complaint, and each and every separate cause of action

                  4   therein, fails to state facts sufficient to constitute any cause of action against Defendant.

                 5                                  SECOND AFFIRMATIVE DEFENSE

                 6                                           (Statute of Limitations)

                 7            2.      Defendant alleges that plaintiffs causes of action are barred, in whole or in part, by

                 8 the expiration of the applicable statutes of limitation, including, but not limited to, California Code

                 9 of Civil Procedure §§ 335, 335.1, and 343, and all other applicable provisions of California's Code

                10 of Civil Procedure.

                11                                   THIRD AFFIRMATIVE DEFENSE

                12                                             (Comparative Fault)

                             3.      Defendant alleges that the damages alleged by plaintiff; such damages being

                14    expressly denied, were proximately caused by the negligence, fault or carelessness of plaintiff and

                15    that such negligence, carelessness or fault comparatively reduces the percentage of any potential

                16 recovery from Defendant, if it should be found that Defendant committed any act entitling plaintiff

                17 to recovery, which Defendant expressly denies.

                18                                  FOURTH AFFIRMATIVE DEFENSE

                19                                      (Third-Party Comparative Fault)

                20           4.      Defendant alleges that the damages alleged by plaintiff, such damages being
                21 expressly denied, were proximately caused by the negligence, carelessness and/or other fault of

                22    firms, persons, corporations, or entities other than Defendant, and that such negligence,

                23 carelessness and/or fault bars recovery or comparatively reduces the percentage of any potential

                24    recovery attributable to Defendant, if it should be found that Defendant committed any act

                25 entitling plaintiff to recovery, which Defendant expressly denies.

                26                                   FIFTH AFFIRMATIVE DEFENSE

                27                             (Independent, Intervening or Superseding Causes)

                28           5.      Defendant alleges that independent, intervening and superseding forces and/or
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                       Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 17 of 27



               1   actions of third parties or plaintiff proximately caused or contributed to plaintiff's alleged losses or

              2 damages, if any, barring recovery from Defendant.

              3                                     SIXTH AFFIRMATIVE DEFENSE

              4                                              (Misuse of Product)

              5            6.      Defendant alleges that the alleged damages in question, if any, were the result of

              6    the misuse of the product in question.

              7                                 SEVENTH AFFIRMATIVE DEFENSE

              8                              (Failure to Follow Warning Supplied with Product)

              9            7.      Any injuries or damages sustained by plaintiff by the product were proximately

             111 caused by the failure of plaintiff and/or other third parties, unrelated to Defendant, to follow the

                   warning(s) supplied with the product, which warning(s) adequately warned of the risks involved in

             12 the product's use or misuse,

             13                                  EIGHTH AFFIRMATIVE DEFENSE

             14                            (Failure to Follow Written and/or Oral Instructions)

             15            8.      Defendant alleges that plaintiffs damages, if any, were caused or contributed to by

             16 plaintiff's failure to comply with the written and oral instructions relating to use and maintenance

             17 of the product in question, and that plaintiffs recovery, if any, should therefore be diminished or

             18    barred in accordance with law.

             19                                   NINTH AFFIRMATIVE DEFENSE

             20                                     (Improperly Named as Defendant)

             21           9.      Defendant alleges that it is improperly named as a defendant in this action because

             22 it did not design, manufacture, assemble, or sell the Taylor Machine Works, Inc. model XLC-976

             23    reach stacker, as alleged in the Complaint. Further, Defendant is not now, nor has ever been, a

             24 manufacturer of reach stackers such as the model XLC-976 alleged in plaintiff's Complaint.

             25                                  TENTH AFFIRMATIVE DEFENSE

             26                                              (State of the Art)

             27           10.     Defendant alleges that the product involved in the subject incident conformed to

             28    the state of the art at the time of sale and was designed, manufactured, and tested pursuant to
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                         Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 18 of 27



                 1   generally recognized and prevailing standards and in accordance with the applicable statutes,

                 2   regulations, and requirements that governed the product in the jurisdiction in which it was

                 3 intended to be sold at the time of design, manufacture and sale.

                 4                               ELEVENTH AFFIRMATIVE DEFENSE

                 5                                                 (No Duty)

                 6                  Defendant alleges that it had not assumed a duty to inspect, repair or maintain the

                 7   product or products at issue, and as such the Complaint fails to state any cause of action against

                 S Defendant.

                 9                                   TWELFTH AFFIRMATIVE DEFENSE

             10                                        (Failure to Join Necessary Parties)

             1               12.    Defendant alleges that plaintiff has failed to join a party or parties necessary and

             12      indispensable to this action.

             13                                THIRTEENTH AFFIRMATIVE DEFENSE

             14                                              (Assumption of Risk)

             15              13.    Defendant alleges that if plaintiff incurred any loss or damage as alleged in the

             16 Complaint, then plaintiffs damages were legally and proximately caused by, and arose out of,

             17 risks of which plaintiff had both knowledge and understanding and that plaintiff voluntarily

             18 assumed.

             19                                FOURTEENTH AFFIRMATIVE DEFENSE

             20                               (Misuse, Abuse and Failure to Maintain Product)

             21             14.     Defendant alleges that plaintiffs damages, if any, were caused or contributed to by

             22      the misuse or abuse of and/or the failure to properly maintain and/or repair the product involved in

             23 the subject incident by plaintiff, or other third parties unrelated to Defendant. To the extent there

             24 was an abuse, alteration, misuse, or unintended use of the product by plaintiff or others which was

             25 without Defendant's knowledge or approval and was a proximate cause of the loss or damage

             26 alleged in the Complaint, then to that same extent, such abuse, alteration, misuse or unintentional

             27 use shall bar recovery against Defendant.

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                            Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 19 of 27



                                                    FIFTEENTH AFFIRMATIVE DEFENSE

                   2                                           (Alteration of Product)

                  3            15.     Defendant alleges the product in question was altered after it left Defendant's

                  4 control, and this alteration proximately caused the losses and damages complained of, if there

                  5 were any.

                  6                                 SIXTEENTH AFFIRMATIVE DEFENSE

                  7                                              (Sophisticated User)

                  8            16.     Defendant alleges that plaintiff was a sophisticated user of the product that is the

                  9 subject of this suit, and that any dangers posed by the product were obvious or generally known to

                 10 them, barring any claim by plaintiff for failure to warn.

                 I1                              SEVENTEENTH AFFIRMATIVE DEFENSE

                 I2                                                 (Preemption)
                 I3            17.     Defendant alleges that plaintiffs claims and/or causes of action are barred, in

                 14    whole or in part, by the doctrine of preemption.

                 IS                               EIGHTEENTH AFFIRMATIVE DEFENSE
                 16                           (Failure to Make Reasonable Efforts to Minimize Loss)

                 17            18.     Defendant alleges that plaintiff has failed to act reasonably to minimize any loss or

                 18 harm that they suffered, and could have avoided such harm by making reasonable efforts or

                 19 expenditures.

                 20                               NINETEENTH AFFIRMATIVE DEFENSE

                 21                                                (Contribution)

                 22           19.     Defendant alleges that it is entitled to contribution from any person and entity

                 23 whose negligence or other acts proximately contributed to the happening of the claimed incident

                 24    or alleged injuries, if plaintiff should receive a verdict against Defendant.

                 25                               TWENTIETH AFFIRMATIVE DEFENSE

                 26                                              (Indemnification)
                 27           20.     Defendant alleges that it is entitled to indemnification by apportionment against all

                 28    parties, persons, and entities whose negligence and/or acts contributed proximately to the
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                       Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 20 of 27



                  happening of the claimed incident or alleged damages.

              2                            TWENTY-FIRST AFFIRMATIVE DEFENSE

             3                                            (Equitable Doctrines)
              4           21.     Defendant alleges that the Complaint, including each and every cause of action

              5 therein, is barred by the equitable doctrines of lathes, unclean hands, and/or estoppel.

             6                            TWENTY-SECOND AFFIRMATIVE DEFENSE

              7                                                 (Release)

                          22.     Defendant alleges that plaintiff's claims are barred by any release and/or releases

             9 executed by plaintiff and/or individuals, firms, corporations, or entities other than Defendant.

                                           TWENTY-THIRD AFFIRMATIVE DEFENSE

            11                                                  (Waiver)

            12            23.    Defendant alleges that plaintiff engaged in conduct and activities sufficient to

            13 constitute waiver of any alleged breach of duty, negligence, act, omission, or any other conduct, if

            14 any, as set forth in the Complaint.

            15                           TWENTY-FOURTH AFFIRMATIVE DEFENSE

            16                                  (Non-Economic Damages Several Only)

            17           24.     Defendant alleges that, pursuant to California Civil Code sections 1431.1 and

            18 1431.2, Defendant's liability, if any, for non-economic damages shall be several only and shall not

            19    be joint with any other existing defendant, potential defendant, cross-complainant, cross-

            20 defendant, or other person or entity. Defendant can only be held liable for the amount of non-

            21    economic damages allocated to it in direct proportion to the percentage of fault, if any, determined

            22 at trial, and a separate judgment shall be rendered against Defendant for that amount.

            23                             TWENTY-FIFTH AFFIRMATIVE DEFENSE

            24                                     (Res Judicata/Collateral Estoppel)

            25           25.     Defendant alleges that plaintiffs Complaint is barred, in whole or in part, by res

            26 judicata or collateral estoppel.

            27 / / /

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                                                TWENTY-SIXTH AFFIRMATIVE DEFENSE

                2                                                    (Notice)

                3             26.     Defendant alleges that plaintiff failed to give timely notice to Defendant concerning

                 4 any purported breach of warranty, express or implied, as required by California Commercial Code,

                5 section 2607(3)(a).

                6                            TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                                                               (Express Warranty)

                8             27.     Defendant alleges that if an express warranty was formed, said express warranty

                9 was in lieu of any other warranties, expressed or implied, including any warranty of

               10 merchantability or fitness for a particular purpose.

               11                             TWENTY-EIGHTH AFFIRMATIVE DEFENSE

               12                                            (Waiver of Warranties)

               13            28.      Defendant alleges that plaintiff expressly waived any and all implied warranties not

               14 specifically provided for in the warranty, if there were any.

               15                              TWENTY-NINTH AFFIRMATIVE DEFENSE

               16                                                  (Settlement)

               17            29.      Defendant alleges that any recovery or settlement plaintiff may have obtained from

               18 other individuals, firms, corporations, or entities over whom Defendant has or had no control or

               19 right of control, must reduce or bar altogether any recovery or judgment which plaintiff might

               20 obtain from Defendant.

               21                                 THIRTIETH AFFIRMATIVE DEFENSE

               22                               (Violations of Cal. Civ. Code §§ 3333.3, 3333.4)

               23            30.      Defendant alleges that plaintiffs damages, if any, are limited or barred by the

               24   provisions of California Civil Code sections 3333.3 and 3333.4.

               25                               THIRTY-FIRST AFFIRMATIVE DEFENSE

               26                                            (Reservation of Rights)

               27            31.      Defendant has insufficient knowledge or information upon which to form a belief

               28 as to whether it may have additional affirmative defenses available. Defendant reserves the right
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                to assert additional affirmative defenses in the event discovery indicates that it will be appropriate

            2    to do so.

            3             WHEREFORE, Defendant prays that the Court enter a judgment:

            4             1.       Dismissing plaintiffs Complaint as against Defendant, with prejudice;

                          2.       Awarding Defendant its costs and reasonable attorneys' fees;

            6             3.       Granting Defendant such other and further relief as the Court may deem just and

            7 appropriate.

            8             DEFENDANT HEREBY REQUESTS A TRIAL BY JURY.

            9

           10   DATED: March 25, 2019                        LEWIS BRISBOIS BISGAARD & SMITH               LLP


           11

           12
                                                             By:
           13                                                      Anthony E. Sonnett
                                                                   Steven A. Dabrowski
           14                                                      Attorneys for Defendant
                                                                   VOLVO GROUP NORTH AMERICA, LLC
           15

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                      Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 23 of 27



              1                       CALIFORNIA STATE COURT PROOF OF SERVICE

              2                                 Mori v. VGNA - Case No. RGI9004473

              3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

              4          At the time of service, I was over 18 years of age and not a party to the action. My
                  business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071.
              5
                    On March 25, 2019, I served the following document(s): DEFENDANT VOLVO
              6 GROUP NORTH AMERICA, LLC'S ANSWER TO PLAINTIFF'S COMPLAINT

                        I served the documents on the following persons at the following addresses (including fax
                  numbers and e-mail addresses, if applicable):
              8
                Michael Villeggiante, Esq.
              9 WELTIN, STREB, & WELTIN, LLP
                1432 Martin Luther King Jr. Way
             10 Oakland, CA 94612
                Tel: 510-251-6060
             11 Fax: 510-251-6040
                Email: mvilleggiante@weltinlaw.com
             12
                Attorneys for Plaintiff Tarneika Mori
             13
                       The documents were served by the following means:
             14
                LI     (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package addressed to
             15        the persons at the addresses listed above and:

             16         N       Placed the envelope or package for collection and mailing, following our ordinary
                business practices. I am readily familiar with the firm's practice for collection and processing
             17 correspondence for mailing. Under that practice, on the same day that correspondence is placed
                for collection and mailing, it is deposited in the ordinary course of business with the U.S. Postal
             18 Service, in a sealed envelope or package with the postage fully prepaid.

             19          I declare under penalty of perjury under the 1()Ciiitile tate of California that the
                  foregoing is true and correct.
             20
                         Executed on March 25, 2019, at Los Ang       s, Califoy ia.
             21

             22

             23                                                    SAMANTHA COX
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Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 24 of 27




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                  Tameika Mori

                    NOTICE! You have been cued. The court may decide against you without your being hoard tmless you respond within 30 days. Read the Informadon
                    below.
                       You have 30 CALENDAR DAYS after Ns Summons and legal papers are served on you to me a written response at this court and haves copy
                   sewed on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the coon to hear your
                    case. There may be a court firm that you =num. for yourresponse. You canted Mese court forms and more information at the Callomia Courts
                    online sow-Horn Center (snyrnesuffbilacagowhoWeia), your peaty taw library, or the courthouse nearest you, fl you eanhOt pay the King fee, ask
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                        Thereon other legal requirements. You may went to call an attorney right away. If you do not know an attorney. you may want to crag an attorney
                   referral service. If you rennet affordan attorney. you may be Niglio for free legal nAces from a honpsofil legal services program. You can locate
                    Ihlf50 nonprofit groups at the California Legal Services Web site pornutswhelpredfforwhonifi. the California Courts Online Sethilele Center
                   (www.courfinfo.ca.potbsehheO), or by contacting your tocel owner county bar assoclolion. NOTE: "(hasped rem a statutory lien for ;valved fees end
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                 (El nombre y direcclon de la code es):       Superior Ct. of Cal„ County of Alameda
                                                              1225 Fallon Street
                                                                                                                              6M            9 0044 7 'i
                                                              Oakland, CA 94612
                 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
                 (El nomere, le eireccion y el mimeo de leafage del abogado del demandenle, o del demandante qua no Ilene abogado, es):
                 Michael Villeggiate; Wain. Streb, & WcItin. LLP; 1432 MLK Jr. Way, Oakland, CA 946.12; 510-251.6060
                 DATE:                                                             Clerk, by                                                                     , Deputy
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                                                NOTICE TO THE PERSON SERVED: You are served
                                                  Q as an Individual defendant.
                                               2.        ED
                                                         as the person sued under the fictitious name of (specify):


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CT Corporation                                                             Service of Process
                                                                           Transmittal
                                                                           02/22/2019
                                                                           CT Log Number 534975228
TO:        Therence 0 Pickett, V.P., Gen Csl & Secretary
           Volvo Group North America, Inc.
           7900 National Service Rd
           Greensboro, NC 27409-9416


RE:        Process Served in California

FOR:       Volvo Group North America, LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:


TITLE OF ACTION:                     TAMEIKA MORI, PLTF. vs. TAYLOE MACHINE WORKS, INC. AND Volvo Group North
                                     America, LLC, DFTS.
DOCUMENT(S) SERVED:                  SUMMONS, COMPLAINT, ATTACHMENT(S), STIPULATION
COURT/AGENCY:                        ALAMEDA COUNTY - SUPERIOR COURT, CA
                                     Case # RG19004473
NATURE OF ACTION:                    Product Liability Litigation - Personal Injury - ON 07/01/2017
ON WHOM PROCESS WAS SERVED:          C T Corporation System, Los Angeles, CA
DATE AND HOUR OF SERVICE:            By Process Server on 02/22/2019 at 10:59
JURISDICTION SERVED                  California
APPEARANCE OR ANSWER DUE:            Within 30 calendar days after this summons and legal papers are served on you to
                                     file
ATTORNEY(S) I SENDER(S):             MICHAEL VILLEGGIANTE
                                     WELTIN, STREB, & WELTIN, LLP
                                     1432 MARTIN LUTHER KING JR. WAY
                                     OAKLAND, CA 94612
                                     510-251-6060
ACTION ITEMS:                        CT has retained the current log, Retain Date: 02/22/2019, Expected Purge Date:
                                     02/27/2019
                                     Image SOP

                                     Email Notification, Therence 0 Pickett therence.pickett@volvo.com

                                     Email Notification, Donna Niemann donna.niemann@volvo.com

                                     Email Notification, Jennifer Brown jennifer.brown@volvo.com

SIGNED:                              C T Corporation System
ADDRESS:                             555 Capitol Mall
                                     Suite 1000
                                     Sacramento, CA 95814
TELEPHONE:                           916-497-0656




                                                                          Page 1 of 1 / MN
                                                                          Information displayed on this transmittal is for CT
                                                                          Corporation's record keeping purposes only and Is Provided to
                                                                          the recipient for quick reference. This information does not
                                                                          constitute a legal opinion as to the nature of action, the
                                                                          amount of damages, the answer date, or any information
                                                                          contained in the documents themselves. Recipient Is
                                                                          responsible for Interpreting said documents and for taking
                                                                          appropriate action. Signatures on certified mail receipts
                                                                          confirm receipt of package only, not contents.
                              Case 3:19-cv-01539-SI Document 1 Filed 03/25/19 Page 27 of 27



                     1                              FEDERAL COURT PROOF OF SERVICE
                     2                      Tameika Mori v. Taylor Machine Works, Inc., et al. - Case No.
                     3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                     4        At the time of service, I was over 18 years of age and not a party to the action.
                       My business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071. I
                     5 am employed in the office of a member of the bar of this Court at whose direction
                       the service was made.
                     6
                                   On March 25, 2019, I served the following document(s): DEFENDANT
                     7 VOLVO GROUP NORTH AMERICA, LLC'S NOTICE OF INTERESTED
                         PARTIES
                     8
                                   I served the documents on the following persons at the following addresses
                     9 (including fax numbers and e-mail addresses, if applicable):

                    10 Michael Villeggiante, Esc!.
                         WELTIN, STR' EB, & WELTIN, LLP
                    11 1432 Martin Luther King Jr. Way
                       Oakland, CA 94612
                    12 Tel:  510-251-6060
                       Fax: 510-251-6040
                    13 Email:     mvilleggiante@weltinlaw.com
                    14 Attorneys for Plaintiff Tameika Mori

                    15             The documents were served by the following means:
                    16 CI          (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package
                                   addressed to the persons at the addresses listed above and I deposited the
                    17             sealed envelope or package with the U.S. Postal Service, with the postage
                                   fully prepaid.
                    18
                                   I declare under penalty of perjury un       r the law of the United States of
                    19 America and the State of California that the foregoing s true and correct.

                    20             Executed on March 25, 2019, at Los         ngeles, alifornia.
                    21

                    22
                                                                           SAM          AC X
                    23

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LEWIS
BRISBOIS
BISGAARD                 4840-9256-7182.1
& SVEN LIP                                    NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. 1441(b) DIVERSITY
AITORIdEYS AT LAW
